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             Exhibit
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             Exhibit
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                        Universal Garage Door Opener

 HomeLink Wireless Control                             The universal garage door opener replaces
 System (If Equipped)                                  the common hand-held garage door
                                                       opener with a three-button transmitter
                      WARNING                          that is integrated into the driver’s sun visor.
        Do not use the system with any                 The system includes two primary features,
        garage door opener that does not               a garage door opener and a platform for
        have the safety stop and reverse               remote activation of devices within the
 feature as required by U.S. Federal Safety            home. As well as being programmed for
 Standards (this includes any garage door              garage doors, the system transmitter can
 opener manufactured before April 1, 1982).            be programmed to operate entry gate
 A garage door opener which cannot detect              operators, security systems, entry door
 an object, signaling the door to stop and             locks and home or office lighting.
 reverse, does not meet current federal                Additional system information can be
 safety standards. Using a garage door                 found online at www.homelink.com or by
 opener without these features increases               calling the toll-free help line on
 the risk of serious injury or death.                  1-800-355-3515.

 Note: Make sure that the garage door and              In-vehicle programming
 security device are free from obstruction
                                                       This process is to program your hand-held
 when you are programming. Do not program
                                                       transmitter and your in-vehicle HomeLink
 the system with the vehicle in the garage.
                                                       button.
 Note: Make sure you keep the original
                                                       Note: Put a new battery in the hand-held
 remote control transmitter for use in other
                                                       transmitter. This will ensure quicker training
 vehicles as well as for future system
                                                       and accurate transmission of the
 programming.
                                                       radio-frequency signal.
 Note: We recommend that upon the sale
 or lease termination of your vehicle, you
 erase the programmed function buttons for
 security reasons. See Erasing the function
 button codes later in this section.
 Note: You can program a maximum of
 three devices. To change or replace any of
 the three devices after it has been initially
 programmed, you must first erase the                  E142658

 current settings. See Erasing the function            1. With your vehicle parked outside of the
 button codes later in this section.                      garage, turn your ignition to the on
                                                          position, but do not start your vehicle.
                                                       2. Hold your hand-held garage door
                                                          transmitter 1–3 inches (2–8
                                                          centimeters) away from the HomeLink
                                                          button you want to program.


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                                         SYNC™

 Times are subject to change due to                    When using SYNC:
 holidays.                                             • Do not operate playing devices if the
                                                         power cords or cables are broken, split
 SYNC Owner Account                                      or damaged. Place cords and cables
 Why do I need a SYNC owner account?                     out of the way, so they do not interfere
                                                         with the operation of pedals, seats,
 • Required to activate Vehicle Health                   compartments or safe driving abilities.
   Report and to view the reports online.
                                                       • Do not leave playing devices in your
 • Required to activate the                              vehicle during extreme conditions as it
   subscription-based SYNC Services and                  could cause them damage. See your
   to personalize your Saved Points and                  device's manual for further information.
   Favorites.
                                                       • Do not attempt to service or repair the
 • Essential for keeping up with the latest              system. See an authorized dealer.
   software downloads available for
   SYNC.                                               Privacy Information
 • Access to customer support for any
   questions you may have.                             When a cellular phone is connected to
                                                       SYNC, the system creates a profile within
 Driving Restrictions                                  your vehicle that is linked to that cellular
                                                       phone. This profile is created in order to
 For your safety, certain features are                 offer you more cellular features and to
 speed-dependent and restricted when your              operate more efficiently. Among other
 vehicle is traveling over 3 mph (5 km/h).             things, this profile may contain data about
                                                       your cellular phone book, text messages
 Safety Information                                    (read and unread), and call history,
                                                       including history of calls when your cellular
                      WARNING                          phone was not connected to the system.
        Driving while distracted can result in         In addition, if you connect a media device,
        loss of vehicle control, crash and             the system creates and retains an index of
        injury. We strongly recommend that             supported media content. The system also
 you use extreme caution when using any                records a short development log of
 device that may take your focus off the               approximately 10 minutes of all recent
 road. Your primary responsibility is the safe         system activity. The log profile and other
 operation of your vehicle. We recommend               system data may be used to improve the
 against the use of any hand-held device               system and help diagnose any problems
 while driving and encourage the use of                that may occur.
 voice-operated systems when possible.                 The cellular profile, media device index,
 Make sure you are aware of all applicable             and development log will remain in the
 local laws that may affect the use of                 vehicle unless you delete them and are
 electronic devices while driving.                     generally accessible only in the vehicle
                                                       when the cellular phone or media player
                                                       is connected. If you no longer plan to use
                                                       the system or the vehicle, we recommend
                                                       you perform a Master Reset to erase all
                                                       stored information.




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                                       SYNC™

               If you select:                            You can:

                                2. Press OK when the desired selection appears in the
                                display. If you change the language setting, the display
                                indicates that the system is updating. When complete,
                                SYNC takes you back to the Advanced menu.
  Factory Defaults              Return to the factory default settings. This selection does
                                not erase your indexed information (phonebook, call
                                history, text messages and paired devices).
                                1. Press OK to select and then press OK again when
                                Restore Defaults? appears in the display.
                                2. Press OK to confirm.
  Master Reset                  Completely erase all information stored on SYNC
                                (phonebook, call history, text messages and paired
                                devices) and return to the factory default settings.
                                Press OK to select. The display indicates when complete
                                and SYNC takes you back to the Advanced menu.
  Install Application?          Install applications you have downloaded.
                                Press OK and scroll to select. Press OK to confirm.
  Delete All Devices            Delete all previously paired phones (and all information
                                originally saved with those phones).
                                Press OK to select.
  System Info                   Access the Auto Version number as well as the FDN
                                number.
                                Press OK to select.
  MAP Profile                   This is a Bluetooth component, which can further help
                                your phone with the exchange of text messages.
  Return                        Exit the current menu.




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                          MyFord Touch™ (If Equipped)

                                     Restricted Features

                                 Editing settings while the rear view camera or active park
                                 assist are active
  Wi-Fi and Wireless             Editing wireless settings
                                 Editing the list of wireless networks
  Videos, Photos and Graphics Playing video
                                 Editing the screen's wallpaper or adding new wallpaper
  Text Messages                  Composing text messages
                                 Viewing received text messages
                                 Editing preset text messages
  Navigation                     Using the keyboard to enter a destination
                                 Demo navigation route
                                 Adding or editing Address Book entries or Avoid Areas

                                                       The cellular profile, media device index,
 Privacy Information                                   and development log remain in your
                                                       vehicle unless you delete them and are
 When you connect a cellular phone to                  generally accessible only in your vehicle
 SYNC, the system creates a profile within             when the cellular phone or media player
 your vehicle that links to that cellular              is connected. If you no longer plan to use
 phone. This profile helps in offering you             the system or your vehicle, we recommend
 more cellular features and operating more             you perform a Master Reset to erase all
 efficiently. Among other things, this profile         stored information.
 may contain data about your cellular
 phone book, text messages (read and                   System data cannot be accessed without
 unread), and call history, including history          special equipment and access to your
 of calls when your cell phone was not                 vehicle's SYNC module. Ford Motor
 connected to the system. In addition, if you          Company and Ford of Canada do not
 connect a media device, the system                    access the system data for any purpose
 creates and retains an index of supported             other than as described absent consent, a
 media content. The system also records a              court order, or where required by law
 short development log of approximately                enforcement, other government
 10 minutes of all recent system activity.             authorities, or other third parties acting
 The log profile and other system data may             with lawful authority. Other parties may
 be used to improve the system and help                seek to access the information
 diagnose any problems that may occur.                 independently of Ford Motor Company and
                                                       Ford of Canada. For further privacy
                                                       information, see the sections on 911
                                                       Assist®, Vehicle Health Report, and Traffic,
                                                       Directions and Information.


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